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                IN THE UNITED STATES DISTRICT COURT

                                                           'nnriHY-lv AH II: 30
               FOR THE SOUTHERN DISTRICT OF GEORGIA


                           SAVANNAH DIVISION




THE UNITED STATES OF AMERICA,


               Plaintiff,

                                             4:16CR353-11


DARVIN STRAND, JR.,


               Defendant




                               ORDER




     Counsel in the above-captioned case have advised the Court

that all pretrial motions have been complied with and/or that all

matters raised in the parties' motions have been resolved by

agreement. Therefore, a hearing in this case is deemed unnecessary.




     SO ORDERED, this          day of May, 2017




                                UNITED STATES MAGISTRATE JUDGE
                                SOUTHERN DISTRICT OF GEORGIA
